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UNITED STATES OF AMERICA                           CRIMINAL ACTIO N

          V.

SANJAYKUMAR ARVINDBHAI
PATEL                                              NO . CR205-034- 5




                                O R D E R


    The federal government brought this prosecution ;agains t

Patel for possession and use of false immigration docluments,

and for an alleged conspiracy that Patel entered into with

others involving the use of fraudulent applications for

temporary residence and employment authorization . Presently

before the Court is Patel's request for a bench trial' or, in

the alternative, individual voir dire of potential jux'ors .

     The government has not consented to a bench trial, Under

Rule 23(a) of the Federal Rules of Criminal Procedure, Patel

is not entitled unilaterally to waive trial by jury, at leas t

absent a showing of compelling circumstances .                See Singer v .
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United States , 380 U .S . 24, 36-37 (1965) ; United             States   v.

Lewis , 638 F . Supp . 573, 581 (W .D . Mich . 1986) .

     Patel has offered no basis for his request to :proceed

without a jury . Without offering a justification so cothpelling

as to call into question Patel's ability to receive : a fair

trial, a bench trial is not warranted .

     Likewise, Patel has failed to explain his request for

individual voir dire . The Court concurs with the Golrernment

that, absent some specific showing to the contrary by

Defendant, the Court's regular practice in conducting vbir dire

will protect Patel's due process rights .

     For these reasons, Patel's requests for a bench trial and

individual voir dire of potential jurors are DENIED .

     SO ORDERED , this day of November, 2005 .



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                             JUDGE, UNITED STATES DISTRICT COUR T
                             SOUTHERN DISTRICT OF GEORGI A




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